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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 09-CR-20852-ASG
UNITED STATES OF AMERICA
v.
KHALED T. SAFADI,

Defendant.

 

STIPULATED FACTUAL BASIS

The undersigned parties hereby stipulate and agree that had this matter proceeded to trial,
the United States would have established the following beyond a reasonable doubt:

Defendant Safadi owns and operates defendant Cedar Distributors, Inc., an electronics
distributor located in Miami, Florida. Among other items, defendant Safadi and his
company, Cedar, export electronics to what is known as the “tri-border area,”
specifically, Ciudad del Este, Paraguay. Safadi was in this business at the time of the
dates set forth in the indictment, January 2007 to date.

Safadi, through Cedar Distributors, did business with several companies in Ciudad del
Este including one which is the subject of this indictment, Jomana Import Export.
Jomana is located in the Galeria Page Shopping Center in Ciudad del Este and is owned
by co-defendant Samer Mehdi. Defendant Safadi uses different freight forwarders to
export to Ciudad del Este, including defendant Gonzalez and his company, defendant
Jumbo Cargo.

During the course and scope of the conspiracy, defendant Safadi acting on his own and as
owner of defendant Cedar Distributors entered into an agreement, with others known and
unknown, to fraudulently export or send merchandise from the United States contrary to
law by knowingly failing to file or knowingly submitting false or misleading export
information on a Shippers Export Declaration or any successor document related to the
export of goods destined for Jomana Import Export, in violation of Title 18 U.S.C. 554
and Title 13 U.S.C. 305, all in violation of Title 18 U.S.C. 371.

On or about January 9, 2008, co-defendant Mehdi placed an order for 400 Sony
Playstation 2 gaming consoles, worth approximately $49,600, with an employee of
defendant Cedar Distributors. On January 9, 2008, defendant Mehdi caused the wire
transfer of $49,600 to Cedar Distributors to pay for the 400 Play Station 2 gaming
consoles.
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On January 10, 2008, Cedar created invoice #107121 for the 400 Sony Playstation 2
gaming consoles. The invoice listed a unit price of $124 and a total value of $49,600. The
invoice falsely listed the “Bill To” as “Dally Center S.R.L.JJo), shopping vendome,
Ciudad del Este, Paraguay.” The true party to be billed was Samer Mehdi and/or Jomana
Import Export. This false information was placed on the invoice by an employee of
defendant Cedar Distributors, in the course and scope of his employment and pursuant to
an agreement with Mehdi.

Cedar Distributors then caused the 400 Play Station 2s to be transported to defendant
Jumbo Cargo, along with the above-described false invoice.

Defendant Safadi returned to Miami from a business trip and learned that his employee
had falsely listed the “Bill To” party on the Playstation 2 invoice pursuant to an illegal
agreement with defendant Mehdi. Defendant Safadi knew that this invoice had been sent
to Jumbo Cargo along with the Playstation 2s and that Jumbo Cargo would use that
invoice as a successor document to the Shipper’s Export Declaration (SED). The invoice
contained false information and Safadi sanctioned the shipment of Playstation 2s,
knowing and intending that the Playstation 2s would be exported pursuant to this false
invoice and in furtherance of the illegal agreement.

On January 14, 2008, United States Customs and Border Protection officers selected the
corresponding airway bill, #404-20362285, for a border examination. The officers
identified certain discrepancies in the shipping documents and the cargo was seized. The
total value of the merchandise along with the shipping fees is $65,260.

On February 18, 2010, defendants Safadi, Talavera and Gonzalez-Neira were arrested.

So Stipulated.

WIFREDO A. FERRER
UNITEDSTATES 4TTORNEY

   
  

 

 

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Defendant Assistant United States Attorney

 
